                                                                  Case Number:19-007377-CI

Filing #   Case 8:19-cv-03058-VMC-AAS
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                                      IN    THE CIRCUIT OF THE SIXTH JUDICIAL CIRCUIT
                                             IN AND FOR PINELLAS COUNTY, FLORIDA

                                                                          CASE No.:


                   ANTAO PROPERTIES                      LLC, a                CLASS REPRESENTATION
                   Florida limited liability company,
                   individually and          on                                JURY TRIAL REQUESTED
                   behalf of all others similarly situated,



                              Plaintiff,


                   vs.


                   FIRST AMERICAN TITLE
                   INSURANCE COMPANY,

                          Defendant.
                                                                      /



                                                          CLASS ACTION COMPLAINT

                         Plaintiff,   ANTAO PROPERTIES LLC                    (hereinafter “Plaintiff’), brings this class action


            under Rule 1.220 of the Florida Rules of Civil Procedure, hereby sues Defendant, FIRST


            AMERICAN TITLE INSURANCE COMPANY (hereinafter “Defendant”), on behalf of itself and

            all   others similarly situated, and alleges as follows:


                         1.        This case arises from closing fees improperly charged and collected by Defendant


            from buyers of real            estate transactions throughout the State      of Florida.


                         2.        This action      is    brought on behalf of Plaintiff and       all   others similarly situated


            (collectively “Buyers”), pursuant to Florida Rules                  of Civil Procedure 1.220(b)(1),    (2),   and/or   (3),


            seeking declaratory            relief, injunctive relief,     and/or damages in excess of Fifteen Thousand Dollars


            ($15,000.00), exclusive of interest, costs, and attorneys’ fees.




***ELECTRONICALLY FILED               11/06/2019 03:49:52     PM:   KEN BURKE, CLERK OF THE CIRCUIT COURT, PINELLAS COUNTY***
Case 8:19-cv-03058-VMC-AAS Document 1-1 Filed 12/12/19 Page 2 of 18 PageID 12



                                  THE PARTIES, JURISDICTION AND VENUE

            3.        Plaintiff is a single         member        Florida limited liability company. Plaintiff’s single


individual       member, Edward Antao,              is   a resident of Florida.


            4.        Defendant, a licensed              title    agency (hereinafter “Closing Agent”),               is   a foreign


company          licensed and registered to do business in Florida, having ofﬁces located throughout the


State   of Florida, including          at   2370 Drew        Street, Suite      A, Clearwater, Florida 33765. Defendant

lists its   registered agent as Chief Financial Ofﬁcer,                       200 E. Gaines       Street, Tallahassee, Florida


32399.


            5.        Jurisdiction exists pursuant to Florida Statute § 48. 193(1)(a)(1), because Defendant


has physical places of business in this                  state,   and operates, conducts, engages         in,   and   carries    on   its



business in this       state.



            6.        Venue     exists pursuant to Florida Statutes §§ 47.01                 1,   47.041, and 47.051, because


Plaintiff’s causes        of action accrued in             this county.         Defendant conducts business in Pinellas


County, Florida, and the events,               acts, breaches, misrepresentations,                and/or omissions giving rise


to Plaintiff” s causes      of action occurred in Pinellas County.


            7.        Defendant and          its   employees, subsidiaries, afﬁliates, and other related                    entities,



were, at     all   times relevant herein, agents, servants and employees of each other, and at                             all   times


herein mentioned, each           was   acting Within the purpose and scope of said agency and employment.


Whenever           reference in this Complaint              is    made   to   any act or transaction of Defendant, such

allegation shall be        deemed       to   mean        that the principals, ofﬁcers, directors, employees, agents,


and/or representatives of Defendant committed,                           knew   of,   performed, authorized, ratiﬁed and/or


directed such act or transaction               on behalf of Defendant, While actively engaged                    in the scope         of

their duties.




                                                                   Page 2
Case 8:19-cv-03058-VMC-AAS Document 1-1 Filed 12/12/19 Page 3 of 18 PageID 13



                                    FACTS    COMMON TO ALL CLAIMS
                 On      or about   November    14, 2017, Plaintiff entered into a real estate                     purchase and


sale contract (hereinafter “Contract”) With the            owner      (hereinafter “Seller”) of certain real estate


located in Pinellas Florida (hereinafter “Propelty”). Pursuant to the terms ofthe Contract, Plaintiff


agreed to pay cash for the Seller’s Property. Accordingly, the Contract was between                                 Plaintiff, as


the “Buyer,” and the owners, as the “Seller.”


       9.        The Contract       is   a standardized form        known      as the       “‘AS      IS’ Residential Contract



for Sale    and Purchase” approved by the Florida Bar and Florida Association of Realtors.

(hereinafter   “FARBAR Contract”).

        10.      A copy of the Contract is attached hereto as Exhibit “A”.
        11.      Paragraph 9 of the Contract states in relevant                 part:


                 9.         CLOSING COSTS; TITLE INSURANCE                      .   .   .




                 (a)        COSTS To BE PAID BY SELLER:
                                                           ***
                 o          Owner’s Policy and Charges     (if   Paragraph   9(c)(i) is     checked

                                                           ***


                 (c)     TITLE EVIDENCE        AND INSURANCE:            At    least             (if left blank,
                 then 15, or Paragraph 8(a) is checked, then 5) days prior to Closing Date (“Title
                               if

                 Evidence Deadline”), a title insurance commitment issued by a Florida licensed
                 title   insurer, with legible copies   of instruments   listed as exceptions attached
                 thereto (“Title    Commitment”) and,                 an owner’s policy of title
                                                          after Closing,
                 insurance (see     STANDARD A      for terms) shallbe obtained and delivered to
                 Buyer. If Seller has an owner’s policy of title insurance covering the Real
                 Property, a copy shall be furnished to Buyers and Closing Agent within 5 days
                 after Effective Date. The owner’s title policy premium, title search and closing
                 services (collectively, “Owner’s Policy and Charges”) shall be paid, as set
                 forth below. The title insurance premium charges for the owner’s policy and any
                 lender’s policy will be calculated and allocated in accordance with Florida law,
                 but may be reported differently on certain federally mandated closing disclosures
                 and other closing documents. For purposes of this Contract “municipal lien
                       ”
                 searc   means a search of records necessary for the owner’s policy of title
                 insurance to be issued without exception for unrecorded liens imposed pursuant
                 to Chapters 159 or 170, F.S., in favor of any governmental body, authority or
                 agency.
                 (CHECK ONE):




                                                         Page 3
Case 8:19-cv-03058-VMC-AAS Document 1-1 Filed 12/12/19 Page 4 of 18 PageID 14



                     i6) Seller shall designate     Closing Agent and pay for Owner’s Policy and
                     Charges, and Buyer shall pay the premium for Buyer’s lender’s policy and
                     charges for closing services related t0 the lender’s policy, endorsements and loan
                     closing,     which amounts shall be paid by Buyer to Closing Agent or such other
                     provider(s) as    Buyer may select; (emphasis added)   .   .   .




           12.       Pursuant to Paragraph 9(0) of the Contract, the owner’s                           title   policy premium,      title



search and       title   agent closing services        (collectively,    “Owners Policy and Charges”) were                         to   be

charged to either the Buyer or Seller consistent With the terms of the Contract.


           13.       The Buyer and           Seller agreed to the option reﬂected in Paragraph 9(c)(i)                            of the


Contract,    Which speciﬁes           that the Seller “shall designate Closing                      Agent and pay for Owner’s

Policy and Charges”.


           14.           Pursuant to Paragraph       9(c)(i),   charges and fees are only to be paid by the Buyer in


the event the transaction            is   being ﬁnanced by a lender. Since the Contract here was an all-cash


transaction With          no     lender, Plaintiff   was not responsible                for   any   title   agent fees,   title   policy


premiums or lender endorsements.

           15.       Defendant was the designated Closing Agent for the procurement of title insurance


and   to   perform closing services (“Closing Services”) in connection With the transaction.                                       In   its



capacity as a Closing Agent, Defendant performed Closing Services in connection with the


transaction for      Which Defendant charged a            fee (“Closing Services Fee”).


           16.       The Contract provided that the Closing Services Fee would only be charged to, and

collected from, the Seller. Because the sale                was a cash    transaction, there                was no   lender’s policy,


endorsement or related loan closing services required to be paid by                             Plaintiff, the     Buyer.


           17.       At closing of the        transaction,      Defendant prepared a closing settlement disclosure


statement a/k/a          HUD      (“Closing Statement”) detailing the receipts and disbursements                             made on

Plaintiff’ s account, including the allocation              of Defendant’s Closing Services Fee.                      A copy of the
Closing Statement           is   attached hereto as Exhibit “B”.




                                                                Page 4
Case 8:19-cv-03058-VMC-AAS Document 1-1 Filed 12/12/19 Page 5 of 18 PageID 15



         18.       As   indicated   on the Closing Statement, a Closing Services                       fee in the    amount of

$150.00 was improperly charged by Defendant to                        Plaintiff.



         19.       This amount was charged to                Plaintiff’ s    account despite the explicit language in the


Contract stating that “Seller shall       .   .   .
                                                      pay   for   Owner’s Policy and Charges,” Which, by deﬁnition,

included Defendant’s Closing Services Fee.


         20.       Consequently, Plaintiff and Class                      Members have been improperly and             unfairly


charged monies by the Defendant Closing Agent, Which Defendant was not authorized to collect


from   Plaintiff and Class   Members.

         21.       Defendant knew or should have known that                        it   was only permitted     to charge the


Seller for the Closing Services Fee.


         22.       A11 conditions precedent to this action have occurred.


         23.       Plaintiffhas retained the undersigned attorneys and                    is   obligated to pay said attorney


a reasonable attorney’s fee.


                            CLASS REPRESENTATION ALLEGATIONS

         24.       Plaintiff re-alleges       and incorporates by reference                all   allegations set forth in the


preceding paragraphs of this Complaint, as if fully set forth verbatim herein.


         25.       Plaintiffbrings this class action under Florida Rules of Civil Procedure 1.220(b)(1)


and/or 1.220(b)(2), and in the alternative, 1.220(b)(3) on behalfofitselfand on behalfofa similarly


situated “Class” or “Class     Members.”

         26.       The   prerequisites set forth in Florida Rule of Civil Procedure 1.220(a) have been


met   in order to maintain this matter as a class action because “(1) the                        members of the     class are so


numerous       that separate joinder   of each member                is   impracticable, (2) the claim or defense of the


representative party raises questions of law or fact                      common to     the questions of law or fact raised




                                                                  Page 5
Case 8:19-cv-03058-VMC-AAS Document 1-1 Filed 12/12/19 Page 6 of 18 PageID 16



by the claim or defense of each member of the                      class, (3) the   claim or defense of the representative


party   is   typical ofthe claim or defense of each               member ofthe class, and (4) the representative party

can   fairly   and adequately protect and represent the                interests    of each member of the class.” FLA. R.


CIV. PRO. 1.220(a).


             27.     Plaintiff brings this class action individually,                and on behalf of a putative class of

similarly situated Buyers,             and seeks class certiﬁcation of the claims and issues pleaded in                    this


Complaint, on behalf of the Class deﬁned as follows:


             All Buyers in    cash real estate sale transactions in Florida, that used an “AS
                               all
             IS” Residential Contract for Sale and Purchase form approved by the Florida
             Bar and Florida Association of Realtors, that selected sub-paragraph (i) of
             section 9(c), but who were charged and paid a Closing Agent Closing Services
             Fee, during the four years precedent to the date of ﬁling this Complaint,
             through and until the date Notice               is   provided to the Class.

             28.     Excluded from the Class are governmental                  entities,   Defendant, any entity in Which


Defendant has a controlling                  interest,     and Defendant’s ofﬁcers,             directors,   afﬁliates,   legal


representatives, employees, co-conspirators, successors, subsidiaries,                          and assigns. Also excluded

from the Class        is   any judge, justice, or judicial ofﬁcer presiding over this matter and the members

of their immediate families and judicial                 staff.



             29.     A11 Class       Members were and             are similarly affected    by Defendant’s conduct and

business practice because they               all   were cash Buyers Who agreed             to   be charged consistent With

section 9(c)(i) of the uniform and standardized                     FARBAR Contract, but Who were all nonetheless

charged and paid Closing Services Fees.


             30.     This matter       is   appropriate for a class action pursuant to Florida Rule of Civil


Procedure 1.220(b)(1), because “the prosecution of separate claims or defenses by or against


individual         members of        the Class     would     create a risk of either: (A) inconsistent or varying


adjudications concerning individual                 members of         the class    Which would     establish incompatible




                                                                  Page 6
Case 8:19-cv-03058-VMC-AAS Document 1-1 Filed 12/12/19 Page 7 of 18 PageID 17



standards of conduct for the party opposing the class; or (B) adjudications concerning individual


members of the          class   Which would,       as a practical matter, be dispositive of the interests of other


members of the Class Who               are not parties to the adjudications, or substantially impair or              impede

the ability of other        members of the Class Who             are not parties to the adjudications to protect their


interests.”


         31.          A   class action is also appropriate pursuant to Florida                   Rule of Civil Procedure


1.220(b)(2),        Which   states: “the     party opposing the class has acted or refused to act on grounds


generally applicable to          all   the   members of     the class, thereby        making ﬁnal       injunctive relief or


declaratory relief concerning the class as a Whole appropriate.” Here, Defendant’s consistent


business practice affects         all   Class Members, including Buyers                Who may     use Defendant as their


Closing Agent          at the selection      of Sellers in the   future. Therefore,      Defendant’s wrongful business


practice      is   continuing and on-going.


         32.          In the alternative, a class action             is   proper pursuant to Florida Rule of Civil


Procedure 1.220(b)(3), because “the claim or defense                      is   not maintainable under either subdivision


(b)(l) or (b)(2), but the questions                 of law or      fact   common       to the claim or defense        of the


representative party and the claim or defense of each                     member of the     class     predominate over any


question of law or fact affecting only individual                 members of the       class,   and   class representation is


superior to other available methods for the fair and efﬁcient adjudication of the controversy.                           The

conclusions shall be derived from consideration of all relevant facts and circumstances, including


(A) the respective interests of each             member of the      class in individually controlling the prosecution


of separate claims or defenses, (B) the nature and extent of any pending                          litigation to   Which any

member of the          class is a party   and in Which any question of law or            fact controverted in the subject


action   is   to   be adjudicated, (C) the desirability or undesirability of concentrating the                  litigation in




                                                            Page 7
Case 8:19-cv-03058-VMC-AAS Document 1-1 Filed 12/12/19 Page 8 of 18 PageID 18



the   forum Where the subject action          is instituted,   and (D) the difﬁculties    likely to      be encountered in

the   management of the claim or defense on behalf of a               class.”


           33.        Based on the estimated number of all cash land            sale transactions throughout Florida


and investigation of counsel,        it is   readily apparent that the   number of Buyers         is   so large as to   make

joinder impractical. Based on information and belief, the size ofthe Class                  is   likely in the thousands


and easily includes more than forty (40)             class   members. Nevertheless, despite the estimated                size


of the Class, Class Members          may be notiﬁed of the class         certiﬁcation and    pendency of this action

by recognized, Court-approved notice dissemination methods, Which may include U.S. Mail,

electronic mail, Internet postings, and/or published notice through the assistance of a Class Action


Administrator.


           34.        Questions of law and fact          common      to the Plaintiff     and Class Members              that


predominate over questions affecting only individual members, include, inter                           alia:


                 a.   Whether   Plaintiff     and Class Members entered            into   FARBAR           Contracts With


Sellers;


                 b.   Whether Defendant acted         as a Closing     Agent     in connection with the         FARBAR

Contracts that Plaintiff and Class           Members    entered into With Sellers;


                 c.   Whether Defendant breached a duty of care owed                to Plaintiff   and Class Members

as Buyers;


                 d.   Whether Defendant was grossly negligent by charging Plaintiff and Class Members

a Closing Agent Closing Services Fee;


                 e.   Whether Defendant’s conduct injured            Plaintiff   and the Class Members, and             if so,


the extent of the injury suffered        by    Plaintiff and Class   Members;

                 f.   Whether   Plaintiff and Class    Members      are entitled to declaratory relief;        and




                                                          Page 8
Case 8:19-cv-03058-VMC-AAS Document 1-1 Filed 12/12/19 Page 9 of 18 PageID 19



              g.   Whether         Plaintiff   and Class Members are         entitled to   any other   relief,   including


injunctive relief.


        35.        The claims        asserted    by     Plaintiff in this action are typical   of the claims of Class


Members      as the claims arise       from the same course of conduct by Defendant, and the                relief sought


Within the Class       is   common to    each of the Class Members.


        36.        Plaintiff and Plaintiff’ s counsel Will fairly          and adequately represent and protect the

interests   of the Class. Plaintiff has retained counsel competent and experienced in both consumer


protection and class action litigation. Plaintiff’s counsel has represented consumers in a Wide


variety of class actions          Where they were approved as          class counsel.


        37.        A    class action is a fair            and appropriate method for the adjudication of the

controversy, in that         it   Will permit a large       number of claims     to   be resolved in a single forum


simultaneously, efﬁciently, and without the unnecessary hardship that                          would   result    from the

prosecution of numerous individual actions and the duplication of discovery,                      effort,   expense and


burden on the courts that individual actions would engender.

        38.        The beneﬁts of proceeding                as a class action, including providing a         method    for


obtaining redress for claims that              would not be       practical to pursue individually,      outweigh any

difﬁculties that   might be argued regarding the management of this class                   action.


        39.        Absent a class        action,   it   would be highly unlikely      that the representative Plaintiff


or any other Class      member would be able to protect their own interests because the cost of litigation

through individual lawsuits might exceed expected recovery.


        40.        The questions of law or fact common to               the respective Class   Members predominate

over questions of law or fact affecting only individual members.




                                                              Page 9
Case 8:19-cv-03058-VMC-AAS Document 1-1 Filed 12/12/19 Page 10 of 18 PageID 20



           41.    This predominance makes class action litigation superior to any other method


 available for a fair and efﬁcient litigation of the claims at issue in this matter.




                                                    COUNT I
                                              {Gross Negligence!

           42.    Plaintiff adopts    and realleges paragraphs     1   through 41 as   if fully set forth herein.


           43.    Defendant was the Closing Agent for           Plaintiff’ s   cash purchase of real property


 pursuant to the Contract.


           44.    Defendant owed a duty of care to Plaintiff and Class Members to act competently


 and diligently With regards       to closing the sale   between Buyers and     Seller.


           45.    In performing Closing Services for the transaction, Defendant breached                its   duty of


 care to the Plaintiff in the process of closing the sale and acted With gross negligence, as Defendant


 either   Wholly failed   to   review Paragraph 9(0) of the Contract or recklessly disregarded the terms


 of Paragraph 9(0) of the Contract.

           46.    Consequently, Plaintiff and Class        Members were charged           a Closing Services Fee,


 despite the Contract stating that the Closing Services Fee            would be charged     to the Seller.


           47.    Defendant’s conduct evidences a reckless indifference to the rights of Plaintiff and


 a failure to exercise even the slightest degree of care.


           48.    As   a direct and proximate result of the Defendant’s gross negligence, Plaintiff and


 Class    Members have been damaged.

           WHEREFORE, Plaintiff demands judgment for damages in the amount ofthe total Closing

 Services Fees paid    by and charged to     Plaintiff and Class   Members, together With interest and costs

 and an award of attorney’s fees as permitted pursuant          to applicable   common beneﬁt law.




                                                     Page 10
Case 8:19-cv-03058-VMC-AAS Document 1-1 Filed 12/12/19 Page 11 of 18 PageID 21



                                                       COUNT II
                                                      gNegligence)


        49.       Plaintiff adopts         and realleges paragraphs     1   through 41 as   if fully set forth herein.


        50.       Defendant was the Closing Agent for the subject real estate transaction.

        5 1.      Defendant owed a duty of care to Plaintiff and Class Members to act competently


 and diligently With regards     to closing the sale      between Buyers and        Seller.


        52.       In performing Closing Services for the transaction, Defendant breached                      its   duty of


 care to the Plaintiff in the process of closing the sale and acted With negligence, as Defendant failed


 to supervise   and carry out the closing in a reasonable matter,             in that   Defendant either neglected       to


 review Paragraph 9(0) of the Contract or disregarded the terms of Paragraph 9(0) of the Contract.


        53.       Consequently, Plaintiff was charged a Closing Services Fee, despite the Contract


 stating that the Closing Services          Fee would be charged       to the Seller.


        54.       Defendant’s conduct evidences a failure to exercise reasonable care.


        55.       As   a direct and proximate result of the Defendant’s negligence, Plaintiff and Class


 Members have been damaged.

        WHEREFORE, Plaintiff demands judgment for damages in the amount ofthe total Closing

 Services Fees paid    by and charged to         Plaintiff and Class   Members, together With interest and costs

 and an award of attorney’s fees as permitted pursuant              to applicable       common beneﬁt law.

                                                      COUNT III
                                              (Breach of Fiduciarv Dutv)

        56.       Plaintiff adopts         and realleges paragraphs     1   through 41 as   if fully set forth herein.


        57.       By   Virtue   of   its   status as the closing or    escrow agent in        its   relationship with the


 Plaintiff and Class   Members, Defendant owed a ﬁduciary duty                   to Plaintiff and Class      Members     to


 deal in the utmost    good   faith   and in the   interest   of the Buyers.




                                                        Page 11
Case 8:19-cv-03058-VMC-AAS Document 1-1 Filed 12/12/19 Page 12 of 18 PageID 22



           58.       As Closing Agent, Defendant’s ﬁduciary duty                     included the duty to conduct and


 supervise the closing in a non-negligent manner, and With honesty and in good                           faith.



           59.       Defendant breached           its   ﬁduciary duty by improperly representing on the Closing


 Statement that the Plaintiff and Class                  Members were     responsible for       payment of the Closing

 Services Fee and charging and collecting said Closing Services Fees from Plaintiff and Class


 Members.

           60.       As   a direct and proximate result of Defendant’s breach and dereliction of ﬁduciary


 duty, Plaintiff and Class           Members have been damaged.

           WHEREFORE, Plaintiff demands judgment for damages in the amount ofthe total Closing

 Services Fees paid       by and charged to        Plaintiff and Class    Members, together With interest and costs

 and an award of attorney’s fees as permitted pursuant                  to applicable    common beneﬁt law.

                                                            COUNT IV
                                                  (Declaratorv Judgment)


           61.       Plaintiff adopts      and realleges paragraphs       1   through 41 as     if fully set forth herein.


           62.       This Court has jurisdiction over this action for Declaratory Relief pursuant to Fla.


 Stat. §   86.011.


           63.       As   a Buyer in the real estate transaction that           is   the subject of this action, Plaintiff


 has a legal interest     in,   and there   is   doubt, as to whether Defendant         was   entitled   under the Contract


 to charge Plaintiff a Closing Services                 Fee in connection With   Plaintiff’ s   purchase of the Property


 referenced in the Contract.


           64.       There      is   bona ﬁde,   justiciable controversy      between the parties as        to Defendant’s


 entitlement to charge Plaintiff and Class               Members   a Closing Services Fee, and an actual, practical,


 and present need for a declaration.




                                                              Page 12
Case 8:19-cv-03058-VMC-AAS Document 1-1 Filed 12/12/19 Page 13 of 18 PageID 23



         65.        Plaintiff’ s entitlement to a return       of the Closing Services Fee improperly charged


 to Plaintiff is   dependent on a declaration of facts, or the law applied to the             facts   of this dispute.

         66.        Plaintiff and   Defendant have an actual, present adverse          interest in the subj ect matter


 of the declaration requested, either in        fact or law.


         67.        The   relief sought is not seeking    an advisory opinion from the Court.


         WHEREFORE,             Plaintiff requests a declaration that        Defendant had and has no legal right


 under the terms of the Contract to charge Plaintiff and Class Members a Closing Services Fee for


 the subject transaction, declaring and ordering Plaintiff’s and Class                  Members’ entitlement           to a


 reﬁmd of the Closing       Services Fee paid     by them, and     for such other    and further      relief as the   Court


 deems   appropriate, including      damages together With interest and costs, and an award of attorney’s

 fees pursuant to applicable        common beneﬁt law.

                                                     COUNT V
                                                {Unjust Enrichment:

         68.        Plaintiff adopts   and realleges paragraphs         1   through 41 as   if fully set forth herein.


         69.        This cause of action   is   pleaded as an alternative to      Plaintiff’ s legal   remedies alleged


 in this Complaint.


         70.        Plaintiff   and Class Members conferred a beneﬁt on Defendant, in                    that   Defendant


 collected an improper       and wrongful Closing Services Fee from              Plaintiff and Class     Members.

         71.        Defendant knew and appreciated that            it   charged and collected a Closing Services


 Fee from      Plaintiff   and Class Members, as Defendant prepared the Closing Statement and

 conducted and supervised the closing.


         72.        Defendant voluntarily accepted and retained the Closing Services Fees paid

 Plaintiff and Class      Members.

         73.        As   a direct and proximate result of the foregoing, Plaintiff has been damaged.




                                                       Page 13
Case 8:19-cv-03058-VMC-AAS Document 1-1 Filed 12/12/19 Page 14 of 18 PageID 24



          74.       The circumstances render Defendant’s               retention of the Closing Services Fees paid


 by   Plaintiff   and Class Members inequitable and unfair unless Defendant returns the money that

 was improperly      collected from Plaintiff and Class          Members.

          75.       As a direct and proximate result ofthe foregoing,              Plaintiff and Class   Members have

 been damaged.

          WHEREFORE, Plaintiff demands judgment for damages in the amount ofthe total Closing

 Services Fees paid       by and charged to         Plaintiff and Class   Members, together With interest and costs

 and an award of attorney’s fees as permitted pursuant                 to applicable   common beneﬁt law.

                                                  PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, individually, and on behalf of all others similarly situated, prays

 for judgment      and   relief   on   all   causes of action alleged above, as follows:


          A.        For an order certifying that            this action     may be    maintained as a class action,


 certifying Plaintiff as representative             of the Class, ordering Defendant to pay       all   costs associated


 With notice and administration of payment to the Class, and designating Plaintiff’s attorneys as


 Class Counsel;


          B.        A    declaration that Defendant’s practice, collecting Closing Services Fees from


 Buyers in cash transactions under               FARBAR Contracts, violates the rights of Buyers;

          C.        An    injunction prohibiting Defendant from collecting Closing Services Fees from


 Buyers in cash transactions under               FARBAR Contracts;

          D.        For an order requiring Defendant             to   pay   full restitution to Plaintiff   and   all   Class


 Members;

          E.        For an order requiring Defendant            to disgorge all ill-gotten gains        ﬂowing from       its



 unlawful and unfair business practices alleged in this Complaint;




                                                           Page 14
Case 8:19-cv-03058-VMC-AAS Document 1-1 Filed 12/12/19 Page 15 of 18 PageID 25



       T11    For an award of actual damages in an amount                to   be determined   at trial;


       .0     For an award of costs of this    suit,   including reasonable attorney’s fees;


       E



                                          w
              For an award of pre- and post-judgment         interest         on any amounts awarded; and

       H       Providing such further relief as   may be just,         appropriate, or proper.




       Plaintiff respectfully   demands a trial by jury on   all       issues so triable.


 DATED: November 6, 20 1 9                      Respectfully Submitted,


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                                                Attorneysfor Plaintiﬂand the Putative Class




                                               Page 15
Case 8:19-cv-03058-VMC-AAS Document 1-1 Filed 12/12/19 Page 16 of 18 PageID 26




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 ANTAO PROPERTIES LLC, a Florida
 limited liability company, individually and
 on behalf of all others similarly situated,
                                                           CIVIL ACTION FILE
                Plaintiff,                                 NO. ______________

 v.

 FIRST AMERICAN TITLE INSURANCE
 COMPANY.

                Defendant.

                  DECLARATION OF MICHAEL STOGDILL
            IN SUPPORT OF DEFENDANT’S NOTICE OF REMOVAL

       I, Michael Stogdill, hereby state, pursuant to 28 U.S.C. § 1746, that I have

 personal knowledge of the facts set forth herein, unless otherwise indicated, and if

 called upon, I would testify that:

       1.       I am over the age of eighteen and am competent to execute this

 Declaration.

       2.       I am a resident of the State of Florida.

       3.       I currently am the Managing Director of the Mid-Atlantic Division of

 First American Title Insurance Company (“First American”), with responsibility

 over the State of Florida, among others. From 2014 to July 2019, I was the Florida



                                             1
Case 8:19-cv-03058-VMC-AAS Document 1-1 Filed 12/12/19 Page 17 of 18 PageID 27



 State Manager for First American, with direct oversight over all aspects of

 operations in Florida, including its closing services.

       4.     I have access to the business records and data for closings conducted

 by First American in the State of Florida from November 6, 2015 to the present. I

 also have knowledge of practices related to real estate transactions, including the

 use of form purchase and sale contracts throughout the State of Florida.

       5.     In preparing this declaration, I have relied on my knowledge and

 experience in the title insurance industry, knowledge of First American’s policies

 and procedures, as well as my review of First American’s business records,

 maintained under my supervision and control, which are kept and recorded in the

 regular course of First American’s business, at or near the time of the act,

 transaction, occurrence or event.

       6.     I have reviewed the allegations in the Class Action Complaint filed on

 November 6, 2019 and understand that Plaintiff seeks to certify a class of buyers

 who paid closing fees in connection with certain cash purchase transactions that

 involved the FARBAR “AS IS” Residential Contract for Sale.

       7.     First American employees and I analyzed closing data and reports

 showing the number of cash transactions that may involve putative class members.

 Our analysis identified in excess of 19,000 implicated cash transactions.        In




                                            2
Case 8:19-cv-03058-VMC-AAS Document 1-1 Filed 12/12/19 Page 18 of 18 PageID 28



 connection with these transactions, buyers were assessed in excess of $7 million in

 closing service fees.

         8.    Based on my experience in Florida, I know that the FARBAR contract

 at issue in Plaintiff’s complaint is commonly used in Florida.

         I declare under penalty of perjury that the foregoing is true and correct.


                Dec-11-2019
 Date:
                                                 Michael Stogdill




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